                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

LISA LEEK,                                         )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )       Civil No. 2:21-cv-04144-MDH
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                       Defendant.                  )

                     STIPULATION FOR DISMISSAL WITH PREJUDICE

       By and through their attorneys of record, Plaintiff and Defendant stipulate pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii) that this action be dismissed with prejudice, with each party to

bear its own costs, attorneys’ fees and expenses.

                                                       Respectfully submitted,

                                                       LAW OFFICE OF MICHELLE M.
                                                       FUNKENBUSCH

                                              By       /s/ Michelle M Funkenbusch
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                                                By
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